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                IN THE UNITED STATES DISTRICT COURT FOR THE
                      MIDDLE DISTRICT OF PENNSYLVANIA

 KARL KREIG                                         CTVIL ACTION - LAW

                  Plaintiff                         JUDGE MARIANI

          v.                                        JURY TRIAL DEMANDED

 WALMART STORES, INC.,                              NO.: 3:21-CY-00074

                  Defendant


                           JOINT CASE MANAGEMENT PLAN

 I.       PRINCIPAL ISSUES:

 l'   l   Separately for each party, please give a statement summarizing
                                                                         this case:

                  By plaintiff(s):

       This matter arises from a slip and fall incident that occurred
                                                                       on June 1 g,2020.
Plaintiff, Karl Kreig, was a business invitee at the Wal-Mart
                                                                  store in Dickson City,
Pennsylvania, when he was caused to slip and fall as
                                                           a result of a wet floor in the
men's restroom, and as a result, he sustained serious personal
                                                                  injuries, including but
not limited to a chip fracture in his ankle. Plaintiff illeges
                                                                thai the Defendant was
responsible for his fall, as it failed to maintain the bathroom
                                                                  in a safe condition, or
warn the Plaintiff of the danger posed by the wet floor.

                 By Defendant(s):

       Plaintiff, Mr. Kreig, \vas apparently within the Dickson City, pennsylvania
Walmart store on June 18,2020, *h.n he allegedly fell in
                                                            a men's restroom. This
fall was unwitne.ssed. Negligence is disputei, urrd pluirtiffs
                                                                 own contributory /
comparative negligence is certainly at issue in this matter.
                                                              Further, the causation
and extent of any injuries and resufting damages are
                                                     disputed as well


          1.2    The facts the parties dispute are as follows:
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           l.2l    The facts and circumstances surrounding the incident.

          1.22     The nature and extent of Plaintiff s injuries and damages

          agreed upon are as follows:

          1.23    That Plaintiff was present in Defendant's store on June 18,2020.

          1.24 Plaintiff    is a citizen of the Commonwealth of Pennsylvania

          1.25    The proper Defendant to this matter, Walmart Stores East, L.p.,
                  is a Delaware corporation with a principal place of business in
                  Arkansas

    1.3 The legal issues that the parties dispute are:
          1.31 Liability

          1.33    Damages

          t.34 contributory and/or comparative negligence of plaintiff.

          1.3s    whether Plaintiff is entitled to recover damages against
Defendant

         agreed upon are: as follows:

         1.34 Diversity jurisdiction exists for the matter to be before this
                  Honorable Court

         1.35 Venue is appropriate in the Middle District

l   '4    Identifo any unresolved issues as to the service of process, personal
         jurisdiction, subject matter jurisdiction, or venue:

         None

1.5 Identifu any named parties that have not yet been served:
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                 None.

       I.6       Identifo any additional parties that:

              Plaintiff(s) intend to join: None

              Defendant(s) intend to join: None at this time.

       1.7   Identiff any additional claims that:

             Plaintiff(s) intend to add: None

             Defendant(s) intend to add: None at this time.

2.0    l)isclosures

      The undersigned counsel certifies that they have made the initial disclosures
      required by Federal Rule of Civil Procedure 26(a)(1) or that they will do so
      within the time provided by that rule.

      2-l    Separately for each party, list by name and title/position each person
             whose identity has been disclosed.

             Disclosed by Plaintiff:

             I        Karl Kreig
             2        Elmo Baldassari, D.P.M

             Disclosed by Defendant:

      1. Karl Kreig                              plaintiff

      2. Any and all witnesses identified by plaintiff

      3. Kyle Manikowski                         c/o Defendant, Store Management

      4. Marty Anstett                    c/o Defendant, Store Management

      5. Ljuba Konstantin                        c/o Defendant, Store Management
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       6. Katie   Simmons                c/o Defendant, Store Asset Protection

       7. Mark Sauers                    c/o Defendant, Store Associate

3.0   Early Motions

      Identifo any motion(s ) whose early resolution would likely have a significant
      effect either on the scope of discovery or other aspects of the litigation:
      Nature     Motion                 Partv              Anticioated          Date

      None at this time.

4.0   Discovery

      4.1      Briefly describe any discovery that has been completed or is in
               progress:
               By Plaintif(s):

               Plaintiff is in the process of preparing plaintiffs, Initial Rule 26
               Disclosures. Plaintiff has propounded Interrogatories and Request for
               Production of Documents upon the Defendant.

              By Defendant(s):

              Defendant, reserving the right to supplement this list, intends to serve
              written discovery upon the plaintiff, subpoena plaintiffs medical,
              wage, employment, disability and other related providers; depose
              Plaintiff and any witnesses identified by Plaintiff br discovered via
              investigation of this matter; and conduct an IME of the plaintiff

      4.2     Describe any discovery that ail parties agree should be conducted,
              indicating for each discovery undertaking its purpose or what kinds of
              information will be developed through ii (..g., ;plaintiff will depose
              Mr. Jones, defendant's controller, to learn what defendant,s revinue
              recognition policies were and how they were applied to the kinds of
              contracts in this case"):

              The depositions of the parties and any and all other individuals
              disclosed by parties and/or identified thiough discovery and written
              discovery, including subpoenas.
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4.3   Describe any discovery that one or more parties want(s) to conduct but
      to which another party objects, indicating for each such discovery
      undertaking     its purpose or what kinds of information would       be
      developed through it:

      None at this time. However, if the parties can not agree to the scope
      of any subpoena(s) Defendant desires to serve Plaintiff will lodge
      objections.

4.4   Identifo any subiect area I          on discoverv that one or more
      parties would like imposed, at the first stage of or throughout the
      litigation:

      None at this time.

4.5   For each of the following discovery tools, recommend the per-party or
      per-side limitation (specifu a number) that should be fixed, subject to
      later modification by stipulation or court order on an appropriate
      showing (where the parties cannot agree, set forth separately the limits
      recommended by plaintiff(s) and by defendant(s):

      4.5.1 depositions (excluding experts) to be taken by:

             Plaintiff(s):     10              Defendant(s):      10

      4.5.2 interrogatories to be served by:

             Plaintiff(s):          5          Defendant(s):      25

      4.5.3 document production requests to be served by:

             Plaintiff(s):       25            Defendant(s):      25

      4.5.4 requests for admission to be served by:

            Plaintiff(s):      25              Defendant(s):       25

4.6   Discovery of Electronically Stored Information
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            x       Counsel certify that they have conferred about the matters
                    addressed in M.D. Pa. LR 26.1 and that they are in agreement
                    about how those matters will be addressed in discovery.

            tr      Counsel certify that they have conferred about the matters
                    addressed in M.D. Pa. LR 26.1 and that they are in agreement
                    about how those matters will be addressed in discovery with the
                    following exceptions:

5.0   Protective Order

      5.1   If entry of a protective order is sought,
                                                    attach to this statement a copy
            of the proposed order. Include a statement justifuing the propriety of
            such a protective order under existing Third Circuit precedent.

            No protective order is sought at this time. However,            Defendant
            reserves the right to request the same from Plaintiff.

      5.2   If there is a dispute about whether a protective order should be entered,
            or about certain terms of the proposed order, briefly summarize each
            party's position below:

            None at this time

6.0   Scheduling

      6.1   Final date forjoining additional parties:

            Plaintiff(s): 3l3ll202l           Defendant(s):          3t-) U202r

      6.2   Final date for amending pleadings:

            Plaintiff(s):        313r 1202r   Defendant(s):          313U202r

      6.3   All fact discovery   commenced in time to be completed by:

                 A sust 3 1.2021

      6.4   All potentially dispositive motions   should be filed by:
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      6.5    Reports from retained experts due:

             Plaintiff(s): 8l3ll202l                    Defendant(s):      913012021

      6.6    Srpp lementationsdue: l0ll5l202l

      6.7    All    expert discovery commenced in time to be completed by:

                    t2t3t202t

      6.8    This case may be appropriate for trial in approximately:

                          240 days from the filing of this action in this court
                   x      365 days from the filing of this action in this court

      6.9    Suggested date for the final Pretrial Conference:

               J   anuary 2022 (month/year)

      6.10 Trial

             6.10.1         Suggested date for trial
                                Februaw   2022         (month/year)

7.0   Certification of Settlement Authority (All Parties Shall Complete the
      Certification)

      I hereby certiSr that the following individual(s) have settlement authority:

      Plaintiffs:

      Karl Kreig

      Defendant:

      Ryan C. Blazure, Esquire
      Thomas, Thomas and Hafer, LLP
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       1065 Highway 315, Suite 403
       P: (570) 820-0240
       F: (570) 82s-sr64
       rblazure@tthlaw.com

8.0    Alternative Dispute Resolution (5'ADR")

       8.1     Identiff any ADR procedure to which this case already has been
               assigned or which the parties have agreed to use.

               ADR procedure: The parties are amenable to the mediation of this
               matter.

       8.2     If the parties have been unable to agree on an ADR procedure, but one
               or more parties believes that the case is appropriate for such a
               procedure, identifu the party or parties that recommend ADR and the
               specific ADR process recommended:

               N/A

       8.3     If all parties share the view that no ADR procedure should be used in
               this case, set forth the basis for that view:

               The parties recommend proceeding to a mediation following the
               conclusion of discovery

9.0   Consent to Jurisdiction by a Magistrate Judge

       Indicate whether all parties agree, pursuant to 28 U.S.C. g636(c)(l), to have a
magistrate judge preside as the judge of the case with appeal lying to the United
States Court of Appeals for the Third Circuit:

      All   parties agree to jurisdiction by a magistrate judge of this court:
            x Y _N
      If parties agree to proceed before a magistrate judge,      please indicate below
which location is desired for the proceedings:

      _X_      S   cranton/Wilkes-B arre
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      _Harrisburg
10.0 Other matters

        Make any other suggestions for the case development process, settlement, or
trial that may be useful or necessary to the efficient and just resolution of the dispute.

      None at this time.

11.0 Identification of Counsel

      Counsel shall be registered users of the Court's Electronic Case Files System
(ECF) and shall file documents electronically in accordance with the Local Rules of
Court and the Standing Order RE: Electronic Case Filing Policies and Procedures.
Electronic filing is required unless good cause is shown to the Chief Judge why
counsel cannot comply with this policy. Any request for waiver of electronic filing
must be filed with Clerk's Office prior to the case management conference. The
Chief Judge may grant or deny such request.

      Identi$z by name, address, and telephone number lead counsel for each party
Also please indicate ECF User status below:

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